 Case 3:02-cr-00069        Document 675        Filed 10/22/09      Page 1 of 4 PageID #: 2431




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION


UNITED STATES OF AMERICA


v.                                                   CRIMINAL ACTION NO. 3:02-00069-02

MARQUIS DAVIS,


                         MEMORANDUM OPINION AND ORDER

       Pending is Marquis Davis’s Motion to Modify Sentence Pursuant to 18 U.S.C. § 3582(c)(2)

(Doc. 674). Davis cites the recent decision of Judge Paul L. Friedman in the case of U.S. v. Lewis,

as support for his motion. 623 F.Supp.2d 42 (D. D.C. 2009). In Lewis, Judge Friedman stated that

he “now adopts a 1-to-1 crack-to-powder ratio, and will apply the 1-to-1 ratio in all crack cocaine

cases that come before [him] for sentencing in the future.” Id. at 45. Davis argues that this Court

should adopt Judge Friedman’s approach and apply it retroactively to his case, pursuant to 18 U.S.C.

§ 3582(c)(2). For the reasons explained below, the Court declines the request and DENIES the

motion.

                                            Discussion

       Marquis Davis was indicted along with 12 co-defendants on March 12, 2002. On July 1,

2002, he pled guilty to Count Twenty-Seven of that indictment, charging him with distribution of

more than 5 grams of cocaine base in violation of 21 U.S.C. § 841(a)(1). The Court sentenced him

on September 26, 2002, to a term of imprisonment of 168 months, a sentence at the low end of the

then applicable guideline range.
 Case 3:02-cr-00069         Document 675        Filed 10/22/09     Page 2 of 4 PageID #: 2432




       In November 2007, the Sentencing Commission promulgated Amendment 706 to the US

Sentencing Guidelines, which reduced base offense levels under the guidelines for crack cocaine

offenses. U.S.S.G. App. C, Amend. 706 (Supp. 2007). Later, Amendment 713 made 706

retroactively applicable.   See U.S.S.G. App. C, Amend 713 (Supp. May 1, 2008).              These

amendments to the applicable guideline ranges were made to reduce, in part, the disparities between

sentences for crack cocaine and powder cocaine. Mr. Davis benefitted from the amendments when

the Court reduced his sentence on May 21, 2008, to a term of 135 months.

       Shortly after Amendment 706 to the U.S. Sentencing Guidelines, the U.S. Supreme Court

decided the case of Kimbrough v. U.S. 552 U.S. 85 (2007). In Kimbrough, the Court made clear that

federal district courts could vary from sentencing ranges suggested by the Guidelines based on their

disagreement with the crack/powder cocaine disparity reflected in those Guidelines. Id. The Court

concluded, “it would not be an abuse of discretion for a district court to conclude when sentencing

a particular defendant that the crack/powder disparity yields a sentence ‘greater than necessary to

achieve [18 U.S.C.] § 3553(a)’s purposes, even in a mine-run case.” Id. at 575.

       Thirteen months later, the Supreme Court decided the case of Spears v. U.S. 129 S.Ct. 840

(2009). Through Spears, the Court made clear not only that district court judges could reject the

crack/powder ratios on a case by case basis, but that they could categorically replace those ratios

with their own sentencing scheme. Id. The Spears Court specifically upheld the decision of Judge

Mark Bennett, U.S. District Judge for the Northern District of Iowa to adopt a 20:1 ratio between

crack cocaine and powder. Id. Based on this precedent, Judge Friedman appears to be well within

his discretion in adopting the 1:1 ratio as stated in Lewis.




                                                 -2-
 Case 3:02-cr-00069         Document 675        Filed 10/22/09       Page 3 of 4 PageID #: 2433




       While courts are free to categorically reject the crack cocaine ratios present in the guidelines,

nothing requires them to do so. It has been this Court’s practice, following Kimbrough, to consider

sentencing disparities created by the crack/powder ratios, however, the Court has not adopted any

specific alternative ratio to apply in a run of the mill case. The Court frequently looks at the effect

a 20:1 ratio would have on sentencing, but by no means does so in every crack cocaine case. The

Court has never adopted a 1:1 ratio and has no plans to do so in the forseeable future.

       Moreover, retroactive modification of sentencing is strictly limited by 18 U.S.C. § 3582(c).

Under § 3582, a sentence can only be modified, 1) upon a motion by the Director of the Bureau of

Prisons; 2) when the U.S. Sentencing Commission lowers the applicable sentencing guideline range;

or 3) when otherwise permitted by Rule 35 of the Federal Rules of Criminal Procedure or a federal

statute. Amendments 706 and 713 of the U.S. Sentencing Guidelines fell within a particular

justification of the statute which allowed this and other courts to apply the changes retroactively.

Kimbrough and Spears, though critical opinions for future federal sentencing practice, do not

provide the authorization necessary to revisit and modify past sentences. The defendant has not

identified any condition of § 3582 which would allow this Court to amend his sentence. It is worth

noting that in the Lewis case, Judge Friedman explicitly states that his new 1:1 ratio will be applied

to cases that come before him “in the future.” 623 F.Supp.2d at 45 (emphasis added).

       In conclusion, the defendant has already benefitted from an amendment meant to reduce the

disparity between crack cocaine and cocaine powder sentences. At this point in time, the Court has

not adopted any categorical approach to replace the 100:1 ratio. If the Court does adopt a new ratio

in the future it is unlikely to be a straight 1:1 ratio. Even if the Court were to adopt a new

categorical ratio it could not be applied retroactively without a showing that one of the conditions


                                                 -3-
 Case 3:02-cr-00069       Document 675        Filed 10/22/09     Page 4 of 4 PageID #: 2434




of 18 U.S.C. § 3582(c) were met. For these reasons, the defendant’s motion for a reduced sentence

is DENIED.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to counsel

and the defendant, the U.S. Attorney’s Office, the U.S. Probation Office, and the U.S. Marshals’

Service.


                                            ENTER:     October 22, 2009




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE




                                               -4-
